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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


 UNITED STATES OF AMERICA                        :

                   vs.                           :   CRIMINAL NO. 3:06CR160(JBA)
 AZIBO AQUART                                    :   JULY 17, 2020

                             MOTION TO WITHDRAW AS ATTORNEY

       Undersigned counsel hereby moves to withdraw his appearance in this matter. In support
of this motion, counsel submits the following:

       1. I was appointed in this matter on behalf of the defendant, Azibo Aquart, under the
provisions of the Criminal Justice Act.

       2. The defendant has since applied for replacement counsel, which motion has been
granted by the Court.

       For the foregoing reasons, I am requesting the court grant this motion to withdraw my
appearance in this matter.

                                     THE DEFENDANT



                                     BY /s/ Justin T. Smith
                                     Justin T. Smith
                                     Duffy Law, LLC
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                                       CERTIFICATION


         This is to certify that a copy of the foregoing was filed using the Court’s CM/ECF
electronic case filing system. Notice of filings submitted to the system are automatically sent to
all parties of records capable of receiving electronic notice. Any parties not capable of receiving
electronic notice will receive a manual copy of the foregoing via U.S. Mail.



                                                      /s/ Justin T. Smith
                                              Justin T. Smith
                                              Federal Bar No. CT25146




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